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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IN RE THE MATTER OF:                                     )
                                                         )
SYLVESTER D. WINCE,                                      ) 19 CV
                             Plaintiff,                  )
vs.                                                      ) Judge
                                                         )
CBRE, INC., a Delaware Corp., ERNIE SANCHEZ              ) Maj Judge
Individually and in his Official Capacity as Alliance    )
Director of Facilities at CBRE, RICHARD SAULIG           )
Individually and in His Official Capacity as Director of )
Facilities at CBRE, SEAN HOLLAND, Individually and)
In His Official Capacity as Senior Manager of Facilities )
At CBRE, PEDRO REGDOV, Individually and in His )
Official Capacity as Alliance Director of Facilities at  )
CBRE, JOE HERNANDEZ, Individually and in His             )
Official Capacity as Senior Manager of Facilities at     )
And MAYA NASH, Individually and in Her Official          )
Capacity as Human Resources Manager at CBRE,             )
                             Defendants.                 )

                                       COMPLAINT
       COMES NOW THE PLAINTIFF, SYLVESTER WINCE, by and through his counsel, Calvita J.

Frederick and Associates, and complaining of the Defendant, CBRE, INC, a Delaware Corporation, and

ERNIE SANCHEZ, Individually and in His Official Capacity as Alliance Director of Facilities,

RICHARD SALIG, Individually and in His Official Capacity as Director of Facilities, SEAN HOLLAND,

Individually and in His Official Capacity as Senior Manager of Facilities, PEDRO REGDOVA, Individually

and in His Official Capacity as Alliance Director of Facilities, JOE HERNADEZ, Individually and in His

Official Capacity as Senior Manager of Facilities, and MAYA NASH, Individually and in Her Official

Capacity as Human Resources Manager, alleges as follows:




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                                            THE PARTIES

1. PLAINTIFF SYLVESTER WINCE (“SYLVESTER” or “Plaintiff”) is a male, Black citizen of

   the United States, and at all times relevant thereto was a resident of the State of Illinois, residing in

   the County of Cook, City of Chicago.

2. DEFENDANT CBRE, INC (“CBRE” or “Defendant”), is a Delaware Corporation, licensed

   to do business within the State of Illinois having its principal office in Los Angeles, California and

   having a location within the State of Illinois, County of Cook, at 541 North Fairbanks, Chicago,

   Illinois.

3. DEFENDANT ERNIE SANCHEZ (“ERNIE” or “Defendant(s)”) is a male, White citizen of the

   United States, and at all times relevant thereto was a resident of the State of Illinois, residing in the

   County of Cook, City of Chicago, and the current Alliance Director of Facilities at CBRE.

4. DEFENDANT PEDRO REGDOV (“PEDRO” or “Defendant(s)”) is a male, White citizen of the

   United States, and at all times relevant thereto was a resident of the State of Illinois, residing in the

   County of Cook, City of Chicago, and is/was Sylvester’s Alliance Director of Facilities senior

   manager at CBRE.

5. DEFENDANT MAYA NASH (“MAYA” or “Defendant(s)”) is a female, White citizen of the

   United States, and at all times relevant thereto was a resident of the State of Illinois, residing in the

   County of Cook, City of Chicago, and was Sylvester’s Human Resources (“HR”) manager at

   CBRE.

6. DEFENDANT RICHARD SAULIG (“RICHARD” or “Defendant(s)”) is a male, White citizen

   of the United States, and at all times relevant thereto was a resident of the State of Illinois, residing

   in the County of Cook, City of Chicago, and was Sylvester’s Alliance Director of Facilities at

   CBRE.



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7. DEFENDANT SEAN HOLLAND (“SEAN” or “Defendant(s)”) is a male, White citizen of the

   United States, and at all times relevant thereto was a resident of the State of Illinois, residing in the

   County of Cook, City of Chicago, and was Sylvester’s Senior Manager of Facilities at CBRE.

8. DEFENDANT JOE HERNADEZ (“JOE” or “Defendant(s)”) is a male, Hispanic citizen of the

   United States, and at all times relevant thereto was a resident of the State of Illinois, residing in the

   County of Cook, City of Chicago, and was Sylvester’s Senior Manager of Facilities at CBRE.

9. CBRE employs more than 500 people at their Chicago location.

10. At all relevant times, Defendants Ernie, Pedro, Maya, Richard, Sean and Joe were employed by

   Defendant CBRE, and were “employees" of Defendant CBRE within in the meaning of 42 U.S.C.

   § 2000e(f).

                                       JURISDICTION AND VENUE

11. The claims against the Defendants herein are based upon race discrimination (Black) pursuant to

   Title VII of the Civil Rights Act of 1964, as amended, and 42 U.S.C. § 1981 which prohibits

   discrimination on the basis of race and further prohibits retaliation for opposing or making charges

   regarding discrimination.

12. Jurisdiction is conveyed upon this Court as the claims arise under the laws of the United States of

   America pursuant to 28 U.S.C. § 1343.

13. Venue is appropriate in the Northern District of Illinois, Eastern Division, pursuant to 28 U.S.C. §

   1391 as SYLVESTER’S residence, at all times pertinent hereto, and Defendant’s business, as well

   as all events giving rise to this claim occurred within the counties served by this Court.

                                       NATURE OF THE ACTION

14. This is an action brought under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

   2000e et seq., which prohibits discrimination on the basis of race and further prohibits retaliation



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   for opposing or making charges regarding discrimination, and operating as a witness for another

   employee who file a discrimination charge against CBRE, and 42 U.S.C. § 1981 and 42 U.S.C. §

   1983 to redress violations of Plaintiffs' Equal Protection rights guaranteed under the Fourteenth

   Amendment of the United States Constitution.

15. Defendants engaged in deliberate and unlawful policies, patterns, and employment practices

   intended to and did create and proliferate a hostile and abusive work environment based on race

   that included harassment, intimidation, and retaliation.

16. This is an action also brought under Title VI which prohibits discrimination under any program or

   activity receiving federal financial assistance.

                              FACTS RELEVANT TO ALL COUNTS

17. SYLVESTER has been employed by CBRE since October 31, 2001 when he was hired as an

   Maintenance Mechanic for Northwestern Hospital. In 2007 SYLVESTER was promoted to the

   position of Stationary Engineer. In 2010 CBRE took over the facilities management operations for

   Northwestern Hospital.

18. SYLVESTER works in the Feinberg Galter Building located at 251 E. Huron Street, Chicago,

   Illinois. Sylvester has a Bachelor of Science degree from Northwestern University (2010) an was

   working on Project Management Certification.

19. SYLVESTER is a member of International Union of Operating Engineers Local 399, and his

   position is subject to a Collective Bargaining Agreement. (“CBA”)

20. At all times material to this Complaint, SYLVESTER proved his industriousness, presented and

   represented himself in an orderly and respectful manner, and commanded and continues to

   command the respect of his fellow employees.




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21. Additionally, SYLVESTER demonstrated his capacity and abilities to perform all job tasks to

   which he was assigned.

22. The plant operations Feinberg Galter consists of 3 departments: controls, boiler operations and

   systems. SYLVESTER works in all three departments as assigned and needed.

   Denial of Overtime

23. The CBA provides for overtime opportunities based upon seniority. SYLVESTER is the engineer

   with the most seniority that works in Controls.

24. Since March of 2018, SYLVESTER has been denied more than 19 overtime opportunities in

   Controls.

25. Pedro, Ernie, has final decision-making authority for overtime opportunities in Controls. Pedro

   has failed and refused to meet with SYLVESTER or to discuss the denial of overtime opportunities

   to SYLVESTER.

26. SYLVESTER has filed several grievances with the Union related to denial of overtime

   opportunities but to no avail.

   Failure to Promote

27. In 2017 SYLVESTER applied for Assistant Chief position for 259 Building, a new construction

   located 259 E. Huron, Chicago. The Engineer who previously occupied that position, Andrew

   Breniac, stepped down. CBRE management, including Frank Unknown, and Sean, and begged

   Andrew to take his position back.

28. SYLVESTER applied and went for an interview for Andrew’s position, but was denied the

   promotion. Management, including Richard and Pedro said that SYLVESTER was not what they

   were looking for and that SYLVESTER needed more experience and leadership skills.

29. Andrew was brought back and in currently in the Assistant Chief position.



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30. Prior to occupying the position of Assistant Chief Andrew worked in refrigeration, and had never

   worked in boiler operations, systems, chillers, or controls.

31. SYLVESTER has more seniority with CBRE than Andrew in terms of plant operations and

   SYLVESTER has works in all three departments and has experience in boiler operations, systems,

   controls and chillers.

32. Andrew was first hired into the Assistant Chief position in 2015. SYLVESTER applied for the

   position of Assistant Chief in 2015 and was denied the promotion. The reason given to Sylvester

   for the denial of the promotion was his lack of experience. At that point Andrew also had no

   experience in that position

33. Difference in pay between SYLVESTER’s position and the Assistant Chief’s positions is

   approximately $4.00 per hour.

34. In 2016 CBRE hired Joe as Chief of Plant Operations. Joe came from Controls working right

   alongside SYLVESTER. Unlike SYLVESTER, Joe has no credits, certificates, or commendations

   but he was good friends with Sean at CBRE, and SYLVESTER had more seniority than Joe. Sean

   had final decision-making authority for the promotion to Chief of Plant Operations in 2016.Joe did

   not stay long in the position of Chief of Plant Operations.

35. When Joe left, SYLVESTER applied for Joe’s position and was also was denied the promotion.

   No reason was given for the denial of this promotion.

36. There are no Blacks on the management staff at CBRE.

37. Richard has final decision-making authority for promotions

   Failure to Award Holiday Time Off

38. SYLVESTER has applied but in 17 years he has never been allowed holiday time off for

   Christmas Eve, Christmas Day, July 4th, New Year’s Eve or New Years Day.



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39. Other non-Black employees with less seniority and credentials got to enjoy those holidays off with

   their families. As relates to this charge for the year 2017, Cirian Officer, was given the holiday

   time off instead of SYLVESTER.

40. On other occasions, SYLVESTER was told he was denied the holiday time off because he

   incorrectly filed out the paperwork request for time off, which reason was a pretext.

41. Sean has final decision-making authority for holiday time off.

   Hostile work Environment

42. On several occasions racial slurs have been written on Sylvester’s tool chest, including “Nigger

   you don’t belong”, and “Nigger we are watching you”.

43. On other occasions SYLVESTER’S Ernie suggested that he take a class in furtherance of

   promotional opportunities at CBRE. SYLVESTER took the class and paid for the class, a Project

   Manger’s course taken in June of 2018, and Northwestern Hospital, not CBRE, reimbursed him.

44. Thereafter, Ernie suggested SYLVESTER look outside of CBRE for a project manager’s position.

   Ernie later backtracked and said CBRE was going to need project managers “in the not too distant

   future”, but AT&T and IBM needed Project Managers now.                 SYLVESTER took Ernie’s

   suggestion as an indication that there is no likelihood of promotion for him if he stays at CBRE.

45. On several occasions SYLVESTER is required to work systems all week while a white temporary

   employee, Troy Nagle who is still on probation is working Controls. Troy is allowed to sit at a

   computer while Sylvester, a senior engineer is required to respond to emergencies and client

   request which a senior engineer should not be required to do.

46. SYLVESTER is required to repair equipment left from an off shift without documentation, if he

   finds that equipment in the morning, while the person who left the equipment is responsible for the

   repair, SYLVESTER’s managers, including Joe require SYLVESTER to do the work.



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47. SYLVESTER is required to plunge toilets while two new hires are doing the work that Sylvester

   has done for the past 2.5 years.

48. SYLVESTE has reported the issues of harassment, intimidation, racial slurs, failure to promote

   and failure to award overtime to Human Resources at CBRE, including to Maya, but to no avail.

49. SYLVESTER believes that he is required to do work below his grade level and assigned menial

   tasks in retaliation for his complaining about discrimination.

50. The pervasive harassment, intimidation, and violence in the workplace aimed at Plaintiff was

   meant to intimidate and force Plaintiff and other Black employees into accepting their status as a

   second-class citizen within CBRE, or to resign.

51. Defendant CBRE created a negative workplace environment for Plaintiff through their actions

   and/or inactions, which conduct constituted a Title VII violation against the Plaintiff and created

   intolerable working conditions.

52. In response to the hostile, abusive and negative work environment during his day-to-day activities,

   Plaintiff could only either continue to suffer or be constructively discharged.

53. No other white stationary engineer is required to do the menial work below their grade level that

   SYLSVESTER is required to do on a daily basis.

54. Sean, Pedro, Richard, Ernie, Maya and Joe, all operated in such manner as to create a hostile work

   environment for SYLVESTER.


                                      COUNT I
              VIOLATION OF TITLE VII DISCRIMINATION BASED UPON RACE
                                  AGAINST CBRE


55. Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 51 above.




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56. Title VII of the Civil Rights Act of 1964 prohibits discrimination in employment practices and

   specifically 42 U.S.C.A. § 2000e-2 provides in pertinent part:

               “(a) Employer practices
       a.      It shall be an unlawful employment practice for an employer—
                        (1) to fail or refuse to hire or to discharge any individual, or otherwise to
                            discriminate against any individual with respect to his compensation, terms,
                            conditions, or privileges of employment, because of such individual’s race,
                            color, religion, sex, or national origin;”

57. Plaintiff has filed this cause subsequent to a timely filing of a Charge of Discrimination based

   upon race and retaliation with the Illinois Department of Human Rights and the Equal

   Employment Opportunity Commission, a true and correct copy of which is attached to this

   Complaint as Exhibit “A”.

58. Plaintiff has filed this cause pursuant to a “Right to Sue Letter” issued by the Equal Employment

   Opportunity Commission within the statutory time requirement, a true and correct copy of which is

   attached to this complaint as Exhibit “B”.

59. Plaintiff, at all times pertinent to this Complaint, was a resident within the venue and jurisdiction

   of this judicial district and was within the protected race group (Black) as provided by Title VII.

60. The Defendant at all times relevant to this Complaint, operated and did business within the venue

   and jurisdiction of this judicial circuit.

61. During the course of his employment the Plaintiff came under the supervision of Ernie, Richard,

   Sean, Joe, Maya, and Pedro, who subjected SYLVESTER to differential terms and conditions of

   employment because of his race.

62. The Defendant CBRE’S conduct as previously alleged at length herein and as described in the

   Charge of Discrimination attached to this Complaint constitutes discrimination based upon race in

   direct violation of Title VII.




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63. As a result of Defendant’s discriminatory conduct, Plaintiff has been damaged in his career and to

   his person and has otherwise suffered monetary damages.

64. WHEREFORE, Plaintiff SYLVESTER WINCE, demands judgment against the Defendant, CBRE,
   as follows:
                  A.    For retroactive promotion back to 2015, with all back pay, benefits and other
                             emoluments of employment;
                  B.    For an award of $300,000 in compensatory damages suffered because of the
                 discrimination;
                  C.    Plaintiff’s injury to his career, emotional pain and suffering, inconvenience,
                 mental anguish, loss of enjoyment of life, and other nonpecuniary damages and fringe
                 benefits;
                  D.    For attorney’s fees and costs of this suit, pursuant to applicable statute; and
                  E.    For such other and further relief, as is just and equitable.



                                     COUNT II
      VIOLATION OF 42 USC § 1981 – AGAINST CBRE, JOE, PEDRO, ERNIE, RCHARD,
                                  SEAN AND MAYA


65. Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 51.

66. The claims against the Defendants herein are based upon discrimination based upon race.

67. Jurisdiction arises pursuant to 28 U.S.C. § 1343.

68. Venue is appropriate as SYLVESTER’S residence, and Defendants residence and business, as well

   as all events giving rise to this claim occurred within the counties served by this Court.

69. Title 42 U.S.C. § 1981 provides in pertinent part:

70. “(a) Statement of equal rights

       All persons within the jurisdiction of the United States shall have the same right in every State
       and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full
       and equal benefit of all laws and proceedings for the security of persons and property as is
       enjoyed by white citizens, and shall be subject to like punishment, pains, penalties, taxes,

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       licenses, and exactions of every kind, and to no other.

       (b) “Make and enforce contracts” defined
       For purposes of this section, the term “make and enforce contracts” includes the making,
       performance, modification, and termination of contracts, and the enjoyment of all benefits,
       privileges, terms, and conditions of the contractual relationship.

       (c) Protection against impairment
       The rights protected by this section are protected against impairment by nongovernmental
       discrimination …”

71. At all times herein mentioned, SYLVESTER was a person protected by the provisions of 42

   U.S.C. § 1981.

72. CBRE deprived SYLVESTER of his rights to make and enforce contracts granted to him by

   statutes of the United States when they deliberately and intentionally discriminated against him

   based upon his race by setting in place a campaign designed to, and did, result in SYLVESTER’S

   harm.

73. Defendant CBRE maintains a widespread practice of treating Black employees, (based upon their

   race) especially SYLVESTER less favorably than his co-workers who are not Black.

74. Although the practice is not authorized by written law or express company policy, the practice of

   discrimination in the nature of disparate treatment, denial of promotion, denial of overtime and

   holiday time off, and the creation of a hostile work environment is so permanent and well-settled

   as to constitute a custom and/or usage with the force of law.

75. Defendants CBRE practices represent a widespread practice of racial discrimination, especially

   towards Blacks.

76. SYLVESTER was treated less favorably than his colleagues because he is Black, caused by an

   existing, unwritten, unconstitutional policy, which is directly attributable to a final policymaker.

77. The final policy makers for Defendant CBRE include Joe, Pedro, Ernie, Sean, Richard, and other

   members of management, including Maya in HR.

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78. SYLVESTER alleges a pattern of conduct that gives rise to a plausible claim that an

   unconstitutional custom, pattern or practice exists. Specifically Blacks who occupy the position of

   Stationary Engineering are treated differently and denied the same opportunities as their Caucasian

   counterparts because of discriminatory animus and intent.

79. This supports SYLVESTER’S claim of having suffered adverse employment actions by conduct

   tantamount to bullying, arbitrary and inconsistent directives, demeaning and humiliating

   assignments, intentional and public humiliation, unwarranted discipline, denial of overtime,

   promotion and holiday time off.

80. SYLVESTER has been employed by CBRE since October of 2001 when he entered into an

   agreement for employment with Northwestern Hospital, CBRE’s predecessor.

81. Plaintiff at all times material to this Complaint proved his industriousness, presented and

   represented himself in an orderly and respectful manner and commanded and continues to

   command the respect of his fellow employers.

82. Additionally, SYLVESTER demonstrated his capacity and abilities to perform all job tasks to

   which he was assigned.

83. Rather than support SYLVESTER in his position of Stationary Engineering, Defendant CBRE

   intentionally discriminated against SYLVESTER in the following ways: by refusing to promote

   him to the Assistant Chief position in 2015; by refusing to promote him to Chief of Plant

   Operations in 2016; by refusing to promote SYLVESTER to Assistant Chief position for 259

   Building; by refusing him overtime opportunities more than 18 times in 2018; by refusing to ever

   allow him to have Christmas, Christmas Eve, July 4th, New Year’s Eve, or New Year’s Day and

   other holidays off; by insisting he perform menial and demeaning task below his grade level in

   favor of new hires who are still on probation; by insisting he perform work left by others or be



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   accused of insubordination or refusal to work; by retaliating against him for serving as a witness

   for another employee who had complained of discrimination; and for retaliating against him for

   complaining about discrimination against him while working at CBRE.

84. CBRE’s intentional discriminatory animus through the actions of its employees Joe, Pedro, Ernie,

   Sean, Richard, and other employees in management all based upon race.

85. CBRE knew about or reasonably should have known about the hostile work environment created

   by Joe, Pedro, Ernie, Sean, Richard, and other management employees, including Maya in HR and

   failed to take appropriate remedial action to protect SYLVESTER.

86. Joe, Pedro, Ernie, Sean, Richard, and other members of management, including Maya in HR,

   intentional discrimination interfered with SYLVESTER’S right to enforce his agreement with

   CBRE including the performance, and the enjoyment of all benefits, privileges, terms, and

   conditions of the contractual relationship.

87. As a result of the Defendant CBRE’S, discrimination based upon race, SYLVESTER has suffered

   injury to his career, as well as emotional pain and suffering, inconvenience, mental anguish and

   loss of enjoyment of life, and other losses for which he is entitled to compensatory damages in

   accordance with 42 U.S.C. § 1981.

       a.       WHEREFORE, Plaintiff SYLVESTER demands judgment against the Defendant

                CBRE, as follows:

                 A.   Actual damages in the amount of lost wages and back pay from 2015 to present,

                        including any differential in pay as a result of the failure to promote;

                 B.   Actual damages for lost wages due to denial of overtime opportunities and

                        holiday time off;




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                 C.   Compensation for loss of employee benefits, including medical, dental, life,

                        401K, pension, stock options and retirement benefits;

                 D.   Additional compensatory damages for Plaintiff’s mental anguish, pain, and

                        suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary

                        damages and fringe benefits;

                 E.   Additional compensation for damages to and the loss of SYLVESTER’S career;

                 F.   For punitive damages;

                 G.   All reasonable and necessary attorney’s fees incurred as specified;

                 H.   All costs of court; and

                 I;   Such other and further relief as this court deems just and proper.

                                                COUNT III
                                    RETALIATION AGAINST CBRE


88. Plaintiff realleges and incorporates by reference paragraphs 1 through 51 and inclusive.

89. Plaintiff has been threatened, subjected to racial and intimidating and derogatory statements,

   denied opportunities to complete his work, repeatedly harassed about his whereabouts at certain

   times during the day by his managers Niksic and Joe, subjected to intense scrutiny in the

   performance of his job; required to perform menial and degrading tasks below his grade, denied

   opportunities to work overtime, denied promotions and holiday time off, demeaned and humiliated

   in front of his peers, in retaliation for opposing and making charges regarding conduct Plaintiff

   reasonably believed to be an unlawful employment practice under Title VII in violation of 42

   U.S.C. § 2000e-3(a).




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90. As alleged above, these actions began occurring before and during the time SYLVESTER offered

   his testimony as a witness to employment discrimination against Charles Wilson, another CBRE

   employee in 2015, and when Plaintiff lodged a complaint about the promotion of Andrew.

91. To date, Plaintiff continues to be harassed and retaliated against by his supervisors Joe, Sean,

   Pedro, Richard, Ernie and Maya, who continue to single Plaintiff out for mistreatment.

92. A reasonable person in Plaintiff's position would find the Defendant’s actions materially adverse.

93. Defendant acted willfully and in bad faith.



   WHEREFORE, Plaintiff demands judgment against Defendant CBRE for promotion, damages in

   the nature of lost income compensatory, prejudgment interest, attorneys' fees, costs, and such other

   and further relief as the court deems proper.

                                              COUNT IV
              VIOLATION OF THE COLLECTIVE BARGANING AGREEMENT


94. At all material times Plaintiff was represented by the International Union of Operating

   Engineers, Local 399; ("the Union").

95. The Union is a party to a Collective Bargaining Agreements ("CBA") representing the

   certain employees of CBRE, including SYLVESTER.

96. The CBA specifies the protocol under which employees may request transfers within job

   classifications, seek promotions to new job classifications, and obtain overtime and holiday

   time off opportunities.

97. Under the operative CBA, promotions are granted based on experience and seniority.

98. Seniority is defined as an employee's continuous service in the employee's current job title.




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99. CBRE’s consistent and deliberate improper conduct, based on race, failed to follow written

   policies governing promotions, transfers, and overtime, as related to the Plaintiff.

100.   Plaintiff was denied the opportunity to have his grievance timely addressed with the

   Union related to overtime until Plaintiff gave up and hired legal counsel.

101.   Plaintiff believed that Union protocol required Plaintiff’s grievance to be timely

   addressed.

102.   CBRE deliberately overlooked the seniority of Plaintiff by utilizing a biased selection

   process to award promotion to their friends and to offer excuses such as you are not what we

   are looking for or the pretext of lack of experience to justify the failure to offer to Plaintiff a

   promotion to Chief of Plant Operations, and/or Assistant Chief in violation of the CBA.

103.   As to Plaintiff’s grievance related to holiday time off, Plaintiff was informed that he had

   won his grievance but CBRE did not have enough coverage to give him the time off, which

   was not the truth.

   WHEREFORE, Plaintiff demands judgment against Defendant CBRE for promotion, damages in

   the nature of lost income compensatory, prejudgment interest, attorneys' fees, costs, and such other

   and further relief as the court deems proper.




                                              Respectfully submitted,
                                              SYLVESTER WINCE
                                              By;     s/ Calvita J. Frederick
                                                      Attorney for Plaintiff

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